                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE
CONFERENCE OF THE NAACP, et al.,

                    Plaintiffs,              UNITED STATES’ MOTION FOR
                                             A PRELIMINARY INJUNCTION
                    v.                       AND FOR THE APPOINTMENT
                                               OF FEDERAL OBSERVERS
PATRICK LLOYD MCCRORY, in his
official capacity as the Governor of North
Carolina, et al.,                            Civil Action No. 1:13-CV-658

                    Defendants.


LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA, et al.,

                    Plaintiffs,

                    v.                       Civil Action No. 1:13-CV-660

THE STATE OF NORTH CAROLINA, et
al.,

                    Defendants.


UNITED STATES OF AMERICA,

                    Plaintiff,

                     v.
                                             Civil Action No. 1:13-CV-861
THE STATE OF NORTH CAROLINA, et
al.,

                    Defendants.




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       UNITED STATES’ MOTION FOR A PRELIMINARY INJUNCTION
         AND FOR THE APPOINTMENT OF FEDERAL OBSERVERS

       Plaintiff United States of America (the “United States”), pursuant to 42 U.S.C. §

1973j(d) and Federal Rule of Civil Procedure 65, moves for entry of a preliminary

injunction enjoining the State of North Carolina, the North Carolina State Board of

Elections (“SBOE”), and the Executive Director of the SBOE (“Defendants”), from

enforcing certain provisions of North Carolina’s House Bill 589 (Session Law 2013-381)

(“HB 589”), including (1) the elimination of seven days of voting during the one-stop

absentee voting period (“early voting”) (Section 25.1); (2) the elimination of same-day

registration during the early voting period (Sections 16.1-16.8); and (3) the prohibition on

counting provisional ballots that are cast in the correct county but not in the voter’s

assigned precinct (Sections 49.1-49.4) (“the challenged provisions”). The evidence

before this Court shows that the challenged provisions of HB 589 violate Section 2 of the

Voting Rights Act, 42 U.S.C. § 1973.

       The United States also moves for an interlocutory order authorizing the

appointment of federal observers pursuant to Section 3(a) of the Voting Rights Act, 42

U.S.C. § 1973a(a), based on a determination that the appointment of such observers is

necessary to enforce the voting guarantees of the Fourteenth and Fifteenth Amendments.

The authorization of federal observers would permit the United States to monitor election

procedures and the voting process in the polls.

       In support of its motion, the United States asserts that (1) unless enjoined,

Defendants will continue to enforce the challenged provisions of HB 589, which were




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adopted with the purpose and will have the result of denying or abridging the right to vote

on account of race or color in violation of Section 2 of the Voting Rights Act; (2) unless

enjoined, the continued implementation of the challenged provisions of HB 589 will

irreparably harm African-American voters and deny them the opportunity to participate

equally in the political process; (3) the United States’ interest in protecting the voting

rights of eligible citizens and prohibiting the use of voting practices or procedures that

will violate the Voting Rights Act outweighs Defendants’ interest in implementation of

the challenged provisions in future elections; and (4) enjoining Defendants’ enforcement

of the challenged provisions will serve the public interest. See Johnson v. Halifax Cnty.,

594 F. Supp. 161, 171 (E.D.N.C. 1984); Dillard v. Crenshaw Cnty. 640 F. Supp. 1347,

1363 (M.D. Ala. 1986).

       The United States files herewith an accompanying Memorandum of Law in

Support of its Motion for a Preliminary Injunction and for the Appointment of Federal

Observers. In addition, the United States and private plaintiffs in case numbers 1:13-cv-

658 and 1:13-cv-660 file an accompanying joint appendix of evidentiary materials.

Finally, the United States files a proposed order granting its motion.




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Dated: May 19, 2014

                                                 Respectfully submitted,
RIPLEY RAND                                      JOCELYN SAMUELS
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Middle District of North Carolina                Civil Rights Division

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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2014, I electronically filed the foregoing United

States’ Motion for a Preliminary Injunction and for the Appointment of Federal

Observers, using the CM/ECF system in case numbers 1:13- cv-658, 1:13- cv-660, and

1:13-cv-861, which will send notification of such filing to all counsel of record.


                                                  /s/ Catherine Meza
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